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                             UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                             CASE NO. llCR5561-WQH

                             Plaintiff,
                  vs.                                 JUDGMENT OF DISMISSAL
ANBAR GUADALUPE CALDERON (2)

                             Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Information:

     21:841(a) (1);18:2



            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.



 DATE~: FEBRfJf1.I!~012


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                                                      Bernard G. Sk mal
                                                      U.S. Magistrate Judge

          CLERK, U.S. DISTRICT COUfIT
       SOUTHERN DISTRICT OF CAUFORNIA
       BY
